Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 1 of 16 PageID# 1614
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 2 of 16 PageID# 1615
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 3 of 16 PageID# 1616
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 4 of 16 PageID# 1617
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 5 of 16 PageID# 1618
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 6 of 16 PageID# 1619
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 7 of 16 PageID# 1620
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 8 of 16 PageID# 1621
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 9 of 16 PageID# 1622
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 10 of 16 PageID# 1623
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 11 of 16 PageID# 1624
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 12 of 16 PageID# 1625
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 13 of 16 PageID# 1626
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 14 of 16 PageID# 1627
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 15 of 16 PageID# 1628
Case 1:04-cr-00385-LMB   Document 328   Filed 09/26/13   Page 16 of 16 PageID# 1629
